                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 IN THE MATTER OF THE SEARCH OF A
                                                             Case No. 21-MJ-2653
 2004 NISSAN TITAN PICKUP TRUCK,
 TENNESSEE LICENSE PLATE #PH6698,
 VIN#1N6AA07B74N592785


                                           ORDER

       Upon motion of the United States of America and for good cause shown,

       IT IS ORDERED that the Search Warrant and attachments thereto, Application for Search

Warrant and attachments thereto, and Affidavit in Support of said Search Warrant filed in the

above-styled case and any subsequently filed Return and Inventory shall be unsealed.



____________________________                        January 11, 2021
                                                   ____________________
United States Magistrate Judge                     DATE




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